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                                CERTIFICATE OF SERVICE

       I hereby CERTIFY that the foregoing document was electronically filed with the Clerk of

the Court using the Court’s CM/ECF system which will send a Notice of Electronic Filing to all

counsel of record.


       This 12th day of April, 2018.

                                            /s/ Joseph J. Saltarelli
                                              Joseph J. Saltarelli
